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                                                        U.S. Department of Justice


                                                        United States Attorney
                                                        Eastern District of New York
 JPL/JOE                                                271 Cadman Plaza East
 F. #2018R00035                                         Brooklyn, New York 11201



                                                        March 4, 2024

 By ECF

 The Honorable Margo K. Brodie
 Chief United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                Re:     United States v. Michael Hlady
                        Criminal Docket No. 20-008 (MKB)

 Dear Chief Judge Brodie:

                The government respectfully writes, with the consent of the defense, to adjourn the
 upcoming sentencing in this matter and schedule a hearing to permit the defendant Michael Hlady
 to withdraw his previously entered guilty plea, waive indictment, and plead guilty to a single-count
 superseding information to be filed in this District. The reasons for this request are set forth below.

 I.     Relevant Procedural History

                 On January 10, 2020, a grand jury in this District returned a four-count Indictment
 charging the defendant in three of the four counts with: Hobbs Act Extortion Conspiracy, in
 violation of 18 U.S.C. § 1951(a) (Count One); Hobbs Act Extortion, in violation of 18 U.S.C.
 § 1951(a) (Count Three); and Conspiracy to Transmit Interstate Communications with Intent to
 Extort, in violation of 18 U.S.C. §§ 371 and 875(d) (Count Four).

                On April 5, 2021, Hlady pleaded guilty before the Court to Count One of the
 indictment, pursuant to a plea agreement with the government (the “Plea Agreement”).
 Additionally, as set forth in paragraph 2 of the Plea Agreement, the defendant stipulated that
 additional fraudulent conduct, which was unrelated to the charges in the Indictment and committed
 while on pre-trial release in this case (the “Post-Indictment Fraudulent Conduct”), should be
 considered by the Court at sentencing. At the plea hearing, the Court found that Hlady entered his
 plea knowingly and voluntarily and that there was a factual basis for the plea that satisfied the
 essential elements of the offense, and accepted his plea of guilty to Count 1. (ECF Apr. 5, 2021
 Minute Entry; Tr. at 23:9-16).
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              On March 20, 2023, the government moved, pursuant to Rule 48(a) of the Federal
 Rules of Criminal Procedure, to dismiss the Indictment as to Hlady’s co-defendant Steven
 Nerayoff. (ECF Dkt. No. 112). The government’s motion was based on the following:

                (i) material exculpatory evidence obtained by the government well
                after return of the Indictment; (ii) subsequent investigation based on
                that evidence; (iii) the present inability to admit other evidence at
                trial, which the government views as essential to proving its case-
                in-chief; and (iv) the substantial likelihood that the government’s
                inability to admit such evidence will not improve with time.
                Accordingly, the government is unable to prove the charges in the
                Indictment beyond a reasonable doubt. As a result, the government
                submits that dismissal of the Indictment is in the interests of justice.

 (Id. at 26).

                On May 5, 2023, the Court dismissed the Indictment with prejudice as to Nerayoff
 based on the government’s motion. (ECF. Dkt. No. 123 at 13-14).

               Hlady’s sentencing on his plea to Count One of the Indictment (and to the Post-
 Indictment Fraudulent Conduct) is currently scheduled for March 19, 2024.

 II.     Proposed Re-Pleading Hearing

                 In light of the unique procedural history of this case, including dismissal of the
 Indictment against Hlady’s co-defendant for the reasons set forth in the government’s motion and
 that the material exculpatory evidence also applies to Hlady, the government does not dispute that
 “the defendant can show a fair and just reason for requesting the withdrawal” of his guilty plea
 under Rule 11(d)(2)(B) of the Federal Rules of Criminal Procedure. See United States v. Doe, 537
 F.3d 204, 210 (2d Cir. 2008) (“To determine whether the defendant has proffered a ‘fair and just
 reason’ to justify withdrawal, a district court should consider, inter alia: (1) the amount of time
 that has elapsed between the plea and the motion; (2) whether the defendant has asserted a claim
 of legal innocence; and (3) whether the government would be prejudiced by a withdrawal of the
 plea.”).

               Since the dismissal of the Indictment as to Hladay’s co-defendant, the parties have
 reached an agreement with respect to the Post-Indictment Fraudulent Conduct, which remains
 unaffected.

               Accordingly, the government respectfully requests that the Court adjourn the
 upcoming sentencing and schedule a hearing during which the defendant Hlady is expected to
 withdraw his previously entered plea of guilty to Count One of the Indictment, waive indictment,
 and plead guilty, pursuant to a new plea agreement, to a single-count superseding information




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 charging wire fraud, in violation of 18 U.S.C. § 1343, in connection with the Post-Indictment
 Fraudulent Conduct.

                As indicated above, the government has conferred with defense counsel who
 consents to the requests set forth herein.

                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

                                           By:                    /s/
                                                    Jonathan P. Lax
                                                    John O. Enright
                                                    Assistant U.S. Attorneys
                                                    (718) 254-7000

 cc:    Sam Talkin, Esq. (by ECF)




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